     Case 3:16-cv-00023-DHB-BKE Document 83 Filed 05/25/17 Page 1 of 4




                 IN THE UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                           DUBLIN DIVISION

TERESA POPE HOOKS, individually,    *
and ESTATE OF DAVID HOOKS,          *
by Teresa Pope Hooks, Administratrix,
                                    *
                                    *
     Plaintiffs,                    *
                                    *                   CASE NO:
VS.                                 *             3:16-CV-00023-DHB-BKE
                                    *
CHRISTOPHER BREWER, ET. AL.         *
                                    *
     Defendants.                    *
___________________________________ *


       PLAINTIFF’S NOTICE OF FILING ORIGINAL DISCOVERY


      COMES NOW Teresa Pope Hooks, Plaintiff in the above-styled action, and

hereby gives notice of her filing with the Court, for evidence and other purposes

allowed under the Federal Rules of Civil Procedure, the following:

      1.    Condensed version of Deposition of Tim Burris, including exhibits;

      2.    Condensed version of Deposition of Randall DeLoach, including his

            Errata Sheet and exhibits;

      3.    Condensed version of Deposition of Brandon Faircloth;

      4.    Condensed version of Deposition of Buck Forte;

      5.    Condensed version of Deposition of Gerald Frazier;


                                         -1-
Case 3:16-cv-00023-DHB-BKE Document 83 Filed 05/25/17 Page 2 of 4




6.    Condensed version of Deposition of Rodney Jason Garrett;

7.    Condensed version of Deposition of Bill Harrell, including exhibits;

8.    Condensed version of Deposition of Carla Hooks;

9.    Condensed version of Deposition of Timothy Johnson;

10.   Condensed version of Deposition of Forrest Jones;

11.   Condensed version of Deposition of Kasey Loyd;

12.   Condensed version of Deposition of William Meeks;

13.   Condensed version of Deposition of Lance Padgett, including exhibits;

14.   Condensed version of Deposition of Robert Toney, including his Errata

      Sheet and exhibits;

15.   Condensed version of Deposition of Steve Vertin, including his Errata

      Sheet;

16.   Condensed version of Deposition of Jack Wood; and

17.   Expert Report of Jeffrey Noble dated November 5, 2016;

18.   Supplemental Report of Jeffrey Noble dated December 15, 2016; and

19.   Second Supplemental Report of Jeffrey Noble dated December 30, 2016.




                                 -2-
     Case 3:16-cv-00023-DHB-BKE Document 83 Filed 05/25/17 Page 3 of 4




                                          S/ G. BRIAN SPEARS
                                          Bar No. 670112
                                          Attorney for Plaintiff

1126 Ponce de Leon Ave., N.E.
Atlanta, Georgia 30306
Tele: (404) 872-7086




                                    -3-
     Case 3:16-cv-00023-DHB-BKE Document 83 Filed 05/25/17 Page 4 of 4




                         CERTIFICATE OF SERVICE

       I hereby certify that on May 25, 2017, I electronically filed the attached with
the Clerk of Court using the CM/ECF system which will automatically send email
notification of such filing to the following attorneys of record:

Timothy J. Buckley, III                          Mitch Shook
Kelly L. Christopher                             P.O. Drawer P
Buckley Christopher, P.C.                        470 Randolph Dr.
2970 Clairmont Road NE, Suite 650                Vidalia, GA, 30474 -8929
Atlanta, Georgia 30329



                                 S/BRIAN SPEARS, ECF-Registered Attorney
                                 Georgia Bar No. 670112
                                 Attorney for Plaintiff
                                 1126 Ponce de Leon Avenue
                                 Atlanta, GA 30306
                                 Telephone: (404) 872-7086
                                 Email: Bspears@mindspring.com




                                         -4-
